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                            UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION                    MDL 2804
OPIATE LITIGATION                              Case No. 17-md-2804
This document relates to:                      Hon. Dan Aaron Polster
Track One Cases


                                     EXHIBIT LIST
                                      (Corrected)


   Exhibit                              Description                                 Date
   Number

       1.      Rafalski, James E., Expert Report: Analysis of Distributor         04/15/2019
               and Manufacturer Regulatory Compliance to Maintain
               Effective Controls for the Prevention of Diversion of Controlled
               Substances

       2.      McCann, Craig J., PH.D., CFA, Supplemental Expert                  04/03/2019
               Report

       3.      Keller, Lacey R., Expert Analysis Report                           04/15/2019

       4.      Rannazzisi, Joseph T., Deputy Assistant Administrator,             09/27/2006
               Office of Diversion Control, U.S. DOJ, DEA Letter re:
               registrants

       5.      Gitchel, G. Thomas, Acting Chief, Diversion Operations             05/16/1984
               Section, Letter re: registrants

       6.      Rannazzisi, Joseph T., Deputy Assistant Administrator,             12/27/2007
               Office of Diversion Control, U.S. DOJ, DEA Letter re:
               registrants

       7.      Transcript of the Deposition of Colleen McGinn                     12/24/2018
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     8.     Transcript of the Deposition of Joseph Tomkiewicz            11/28/2018

     9.     DEA Diversion Investigators Manual

     10.    Transcript of the Deposition of Thomas Prevoznik (Vol. II)   04/18/2019

     11.    Transcript of the Deposition of Jennifer R. Norris           08/07/2018

     12.    Transcript of the Deposition of Nathan J. Hartle             07/31/2018

     13.    DEA’s Office of Diversion Control’s 13th Pharmaceutical      09/2007
            Industry Conference Presentation and Attendance List

     14.    DEA’s Office of Diversion Control’s 13th Pharmaceutical      09/2007
            Industry Conference Agenda

     15.    DEA’s Office of Diversion Control’s 13th Pharmaceutical      09/2007
            Industry Conference Agenda and Presentation by
            Michael Mapes regarding Suspicious Orders

     16.    Email from Tracey Hernandez to Diane Miranda, et al.         09/26/2007
            regarding DEA/Industry Conference Report

     17.    Settlement and Memorandum of Agreement between the           06/10/2013
            Department of Justice, DEA, and Walgreens Co.

     18.    Appendix A to the Settlement and Memorandum of
            Agreement between the Department of Justice, DEA, and
            Walgreens Co.

     19.    Appendix B to the Settlement and Memorandum of
            Agreement between the Department of Justice, DEA, and
            Walgreens Co.

     20.    Transcript of the Deposition of Thomas G. Schoen             09/05/2018

     21.    Whitelaw, Dr. Seth B., Expert Report, Examination of         04/15/2019
            Compliance Standards for Opioid Manufacturers and
            Distributors

     22.    Kinsey, R.Ph, MBA, Sandra K.B., Amended Expert Report 06/03/2019

     23.    Verdict Form, United States of America v. Gurry, et al.      05/02/2019



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     24.    First Superseding Indictment, United States of America v. 10/24/2017
            Babich, et. Al.

     25.    McCann, Ph.D., CFA, Craig J., Second Supplemental            04/15/2019
            Expert Report

     26.    Exhibit 33 of S. Becker’s Deposition: DEA Press Release re 06/15/2010
            Harvard’s suspension

     27.    Exhibit 36 of S. Becker’s Deposition: DEA Notice of          09/15/2015
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     28.    Exhibit 38 of S. Becker’s Deposition: Press Release          06/10/2011
            regarding KeySource license suspension

     29.    Exhibit 37 of S. Becker’s Deposition: DOJ Press Release      12/23/2016
            regarding civil penalty levied against Cardinal

     30.    Exhibit 35 of S. Becker’s Deposition: DOJ Press Release re   06/25/2014
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     31.    Administrative Memorandum of Agreement between               07/20/2017
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            Administration, Mallinckrodt plc and Mallinckrodt LLC

     32.    Transcript of the Deposition of John Gillies                 02/07/2019

     33.    Exhibit 33 of K. Harper’s Deposition: Email from Karen       04/12/2011
            Harper to Michael J. Santowski regarding Controlled
            Substance Suspicious Order Monitoring Program
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     34.    Transcript of the Deposition of Karen Harper                 01/15/2019

     35.    Buzzeo, R.Ph., Ronald W. Expert Report                       05/31/2019

     36.    Transcript of the Deposition of James Rausch                 11/15/2018

     37.    Mallinckrodt DEA Compliance Procedure, Controlled            05/13/2008
            Substance Suspicious Order Monitoring Draft 2

     38.    Suspicious Order Monitoring Program No. C/S Comp 3.0 10/29/2010




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     39.    Rannazzisi, Joseph T., Deputy Assistant Administrator,     12/27/2007
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            Mallinckrodt, Inc. re: registrants

     40.    SOM Team Activity Log

     41.    Memorandum from Howard Davis to Karen Harper,        11/02/2010
            Suspicious Order Monitoring Program No. C/S Comp 3.0

     42.    Email from Karen Harper to Jim H. Rausch, cc: George R.    06/09/2010
            Saffold regarding SOM Program

     43.    Email from Karen Harper to John Adams et al. regarding     06/06/2008
            Suspicious Order Monitoring Training Notes from Bulk
            Narcotic Sales Meeting Presentation

     44.    Transcript of the Deposition of William Ratliff            12/19/2018

     45.    Excel Spreadsheet showing National Account Manager         2006-2011
            bonus payments

     46.    Transcript of the Deposition of Kate Neely                 01/08/2019

     47.    Meeting Notes from Buzzeo DEA Conference                   10/27-
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     48.    Email from Karen Harper to Eileen Spaulding regarding      09/24/2010
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     49.    Email from Gail Tetzlaff to Jennifer Buist and Eileen      03/02/2012
            Spaulding regarding NAMs clearing orders

     50.    Email from Victor Borelli to Brenda Rehkop, cc: Karen      07/15/2011
            Harper, et al. regarding NAMs clearing orders

     51.    Email from Bill Ratliff to James Rausch et al. regarding   09/03/2008
            Propoxyphene Napsylate orders for Sovereign

     52.    Email from Steven Becker to Karen Harper et al.            10/28/2008
            regarding Old Bridge account

     53.    Email from Victor Borelli to Kate Muhlenkamp regarding     11/14/2008
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     54.    Email from Victor Borelli to James Rausch regarding      04/23/2010
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     55.    Emails from Steven Becker to Penny Myers and James       05/05/2010
            Rausch regarding HD Smith

     56.    Email from Victor Borelli to Brenda Rehkop et al.        06/23/2010
            regarding customer high demand for oxycodone

     57.    Email from Bill Ratliff to Kate Muhlenkamp et al.        06/04/2008
            regarding Oxycodone orders

     58.    Email Chain Between Victor Borelli and Steve Cochran     01/27/2009
            regarding Oxy 30

     59.    Email from Cathy Stewart to Bill Ratliff and Karen       05/30/2008
            Harper regarding Sunrise Wholesale

     60.    Email from Victor Borelli to Steve Cochrane regarding    05/20/2008
            things

     61.    Transcript of the Deposition of Victor Borelli           11/29/2018

     62.    Transcript of the Deposition of Ginger Collier           01/08/2019

     63.    Exhibit 15 of G. Collier’s Deposition: Email from Ginger   11/19/2010
            Collier to Steven. Becker and Victor Borelli regarding Oxy
            Sales by retailer

     64.    Exhibit 16 of G. Collier’s Deposition: Summary of        09/2010
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     65.    Email from Wayne Corona to Karen Harper regarding        10/20/2011
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     66.    Brooks Pharmacy Monthly Total 15mg & 30mg Oxy            2010/2011
            “Sales Qty Govt UOM” 2010-2011 Chart

     67.    Transcript of the Deposition of Steven A. Becker         12/19/2018

     68.    Chargeback Data                                          1998-2018

     69.    Email from Karen Harper to self regarding adding         11/18/2010
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     71.    Exhibit 15 to S. Becker’s Deposition: Harvard (MI)
            Summary of orders

     72.    Email from G. R. Green to James Lang regarding SOP           02/03/2000

     73.    Audit Committee Meeting Presentation: Controlled             06/20/2007
            Substance Orders Responsibility for Knowing Our
            Customers

     74.    Transcript of the Fact Deposition of Stephen Seid (Vol I)    12/12/2018

     75.    Transcript of the Fact Deposition of Stephen Seid (Vol II)   12/13/2018

     76.    SOP – System to Disclose Suspicious Orders of                03/12/2003
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     77.    Email from Dan Colucci to Howard Udel, et al. regarding      06/06/2007
            SOP 7.7 System to Disclose Suspicious Orders of
            Controlled Substances

     78.    Email from Stephen Seidto ValueTrak regarding                07/13/2009
            Approval of Item Exceeding Average

     79.    Email from Stephen Seidto ValueTrak regarding                07/13/2009
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     80.    Email from Stephen Seid to Dawn Wargo regarding              07/20/2009
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     81.    Email from Stephen Seid to FFSOrderMngt regarding            09/09/2009
            Approval of Item on Order Exceeding Average

     82.    Email from Stephen Seid to FFSOrderMngt regarding            09/24/2009
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     83.    Email from Stephen Seid to FFSOrderMngt regarding            10/27/2009
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     85.    PPLPC004000344802

     86.    Purdue Distribution Service Agreements                  03/23/2009

     87.    Abrams, Robin, VP, Assoc. Gen. Counsel, Purdue, Order   03/13/2012
            Monitoring System HDMA Presentation

     88.    SOP 7.7 System to Disclose Suspicious Orders            06/06/2007
            [PPLPC004000119321]

     89.    Email from Gregory Bogdan to Steven Projansky           01/14/2013
            regarding Fee for Service SOP

     90.    Inventory Data License Agreement between Walgreen       2010
            Co. and Purdue Pharma, L.P.

     91.    Inventory Data License Agreement between Walgreen       2012
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     92.    Transcript of the Deposition of Jack Crowley            01/10/2019

     93.    Transcript of the 30(b)(6) Deposition of Stephen Seid   12/12/2018

     94.    Report to OMS Team

     95.    PPLP004035073-7

     96.    Purdue Distribution Service Agreements                  10/15/2002

     97.    Transcript of the Deposition of Mark Geraci             04/04/2019

     98.    Buzzeo Cegedim PDMA Compliance Solutions Report         09/25/2012

     99.    McGinn, Colleen Suspiciosu Order Monitoring
            Presentation

     100.   Transcript of the Deposition of Kevin Kreutzer          11/27/2018

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     102.   Suspicious Order Monitoring, Customer Due Diligence

     103.   Suspicious Order Monitoring, Customer Site Visits       08/01/2014

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     107.   TEVA Suspicious Order Monitoring, DEA Order Hold            06/18/2018
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     108.   TEVA Suspicious Order Monitoring, Do Not Ship List,         06/18/2018
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     109.   TEVA Suspicious Order Monitoring, Customer Due              06/18/2018
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     110.   TEVA Suspicious Order Monitoring, Customer Site             06/18/2018
            Visits, SOP-8280

     111.   Tomkiewicz, Joseph, DEA Compliance Manager, SOM             2017
            and Current Cases Presentation

     112.   DEA and SOM Internal Audit Report                           08/19/2015

     113.   Kevin Kreutzer, Manager, SOM Letter to DEA regarding        02/13/2013
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     114.   Teva Suspicious Order Report Analysis                       01/16/2019

     115.   TEVA SO Reports to DEA

     116.   Responses And Objections of Defendants Cephalon, Inc.,      01/07/2019
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     118.   Chart regarding Total Pills/Units Shipped by Endo           1999-2017

     119.   Transcript of the Deposition of Stephen C. MacRides         03/15/2019

     120.   Transcript of the Deposition of Lisa Walker                 12/04/2018




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     122.   FDA News Release, FDA Requests Removal of Opana ER       06/08/2017
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     123.   Email from John Bullock to Lisa Walker and Sal Grausso   06/12/2017
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     124.   Email from MaryJo Magrone to Sal Grausso, et al.         08/30/2017
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     125.   Email from JMPage to Lisa Walker, et al. regarding       08/31/2017
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     126.   Endo Sales Data Chart

     127.   Email from Paul Evans to Jeremy Tatum regarding          05/2010
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     128.   Par’s Sales Profit Chart                                 2008-2015

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     130.   Risk Management Plan for Opioid Analgesics Focus on :    02/19/2004
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     131.   Risk Minimization Action Plan for Opana ER               06/2007

     132.   Endo Pharmaceuticals Meeting with DEA Presentation       09/30/2003

     133.   Email from Bob Barto to Sue Tolen regarding Revised      10/02/2003
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     134.   Par’s and Endo’s Responses concerning SOM Program
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     135.   Email from Lisa Walker to Michael Kalady regarding       05/13/2018
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      137.   Email from Neil Shusterman to Harris Rotman, et al.       02/01/2017
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      138.   SOMS Program Update Presentation                          11/07/2013

      139.   Summary of Teleconference with UPS regarding SOMS         02/13/2013

      140.   Correspondence from Tracey Hernandez, Larry Shaffer,      11/06/2013
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      141.   UPS SCS Suspicious Order Monitoring Program               11/12/2009
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      153.   Email from Tracey Hernandez to Jill Cornell regarding    02/09/2013
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      154.   Email from Denise Hudson to Tracey Hernandez, et al.     11/16/2011
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      155.   Email from Keith Margolis to William Price and Carol     02/27/2014
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      158.   Email from Eric Brantley to Jill Miller regarding SOM

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      160.   Par Pharmaceutical, Inc. and Par Pharmaceutical          03/04/2019
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      163.   Email from Eric Brantley to Tracey Hernandez enclosing   02/25/2014
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      164.   Email from Jason Ehrlinspiel to Tracey Hernandez         09/30/2014
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      169.   Email from Joseph Barbarite to Angela Feniger et al        05/13/2010
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      170.   Email from Angela Feniger to Patricia Lipari regarding     06/21/2012
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      171.   Email from Angela Feniger to Joseph Barbarite et al        07/15/2015
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      174.   Transcript of the Deposition of Michele R. Dempsey (Vol.   01/22/2019
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      176.   Bacco, Guy, Janssen Overview Presentation

      177.   Optimizing Chronic Pain Management with Duragesic

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      188.   Email from Michele Dempsey to Debbie Sniscak               01/23/2018
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      189.   Email from Valerie Chikwendu to Michele Dempsey
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      190.   Email from Michele Dempsey to Marc Larkins regarding
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      191.   Managed Market Summit, Trade Analytics Presentation        10/18/2012

      192.   Email from Michele Dempsey to Robert Martin regarding      09/24/2012
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      193.   Evaluation of the SOM System for Johnson & Johnson
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      194.   Email from Ron Kuntz to Patricia Yap regarding SOM         06/17/2013
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      195.   SOM Benchmarking with Purdue Meeting Notes                 03/20/2012

      196.   Email from Jack Crowley to Michele Dempsey enclosing       07/26/2013
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      202.   Email from Michael Levitt to Theresa Hoffman regarding     11/26/2014
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      203.   Email from Michael Levitt to Raffaela Figliano regarding   04/15/2016
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      204.   Email from Michael Levitt to Raffaela Figliano regarding   04/20/2016
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      205.   Email from Michael Levitt to Raffaela Figliano regarding   04/27/2016
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      206.   Email from Belinda Corum to Denise Moran regarding 2       12/08/2016
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      207.   Email from Belinda Corum to Roxanne Covino regarding       08/29/2016
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      208.   Email from Michele Dempsey to SeWha Park and Phil          01/18/2017
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      209.   Administrative Memorandum of Agreement between the         2012
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      210.   Email from Mike Kaufmann to Gary Dolch, et al.             01/21/2008
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      211.   Operation One Cardinal Health Quality Management           01/13-
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      215.   Settlement and Release Agreement and Administrative 2008
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      216.   Email from Mark S. Mitchell to Cassi Baker and Steve      05/12/2005
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      217.   Email from Michael Mone to Mark Hartman regarding         01/07/2008
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      219.   Cegedim’s Findings and Recommendations on Cardinal        01/23/2008
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      220.   Investigation Report of the Special Demand Committee,     04/12/2013
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      221.   Email from Carolyn McPherson to Nicholas Rausch           01/08/2008
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             Procedure for Threshold Limit Determination for Drug
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      223.   Hartman, Mark, Supply Chain Integrity Presentation        11/06/2008

      224.   Email from Scott Sopher to Michael Deloso regarding the   10/17/2012
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      225.   Morford, Craig, 2012 Annual Quality and Regulatory        11/02/2012
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      226.   ValueCentric Webpage

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      232.   Cardinal Health’s Responses to Plaintiffs’ Second Notice    10/25/2018
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      234.   Purdue SOP [PPLPC004000344799]                              01/14/2013

      235.   Email re McKesson Contracts [ENDO-OPIOID_MDL-               03/18/2013
             01056072]

      236.   Administrative Memorandum of Agreement between              2017
             U.S. DOJ, DEA and McKesson Corp.

      237.   McKesson Drug Operations Manual

      238.   Transcript of the Deposition of Gary Hilliard               01/10/2019

      239.   McKesson Corp.’s Second Supplemental Objections and         03/04/2019
             Responses to Plaintiffs’ Combined Discovery Requests

      240.   Email from Dave Gustin to Tyra Williams regarding           02/04/2011
             Variance and Suspicious Reports

      241.   Transcript of the Deposition of Blaine M. Snider            11/08/2018

      242.   Memorandum regarding Meeting Between the Office of          01/23/2006
             Diversion Control and McKesson Corp. on January 3,
             2006

      243.   McKesson Operations Manual for Pharma Distribution,
             Lifestyle Drug Monitoring Program



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      244.   Boggs, Gary, State of Prescription Drug Abuse
             Presentation

      245.   Letter from McKesson Corp.’s Counsel to Linden Barber,     04/25/2007
             Esq., Associate Chief Counsel of DEA regarding Order to
             Show Cause

      246.   Transcript of the Deposition of William de Gutierrez-      11/28/2018
             Mahoney

      247.   Email from Alexandra Feigel to Diane Martin regarding      12/10/2007
             November LDMO

      248.   McKesson U.S. Pharma – DEA Licensure Audit, Lifestyle      07/27/2007
             Drug Program

      249.   Settlement and Release Agreement and Administrative 05/02/2008
             Memorandum of Agreement between U.S. DOJ, DEA and
             McKesson Corp.

      250.   Email from Cathy Scofield to Tracy Jonas et al enclosing   03/10/2008
             CSMP Sales Training Presentation

      251.   Email from Gregory Carlson to Pharmacy Team Leader         06/24/2010
             regarding 440 Met its max of Oxycondone APAP for the
             month

      252.   RNA – Threshold Change/Level 1 Firm                        2009

      253.   Step II, Consent Agreement between Gary Evan Sivak,
             M.D. and The State Medical Board of Ohio

      254.   Email from Donald Walker to Bill de Gutierrez-Mahoney      04/17/2008
             regarding New DEA Ordering Standards

      255.   U.S. DOJ, DEA Letter regarding Registration                11/04/2014
             Consequences for McKesson Corp. for Violations of the
             Controlled Substances Act

      256.   Email from Dave Gustin to Dave Fagerskog et al             08/31/2011
             regarding gaps between the amount of Oxy or Hydro
             allowed to be purchase and amount needed




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      257.   Email from Nate Hartle to Krista Peck regarding          05/01/2015
             threshold reduction initiative report

      258.   McKesson’s CSMP Oxycodone Threshold Reduction            02/09/2015
             Report

      259.   Email from Micheal Bishop to Jenna Smith regarding       04/03/2013
             DEA Threshold Warning Report

      260.   Email from Michael Oriente to Dave Gustin et al          04/15/2011
             regarding CSMP contribution, DCM call, and tightening
             up our increase process

      261.   Email from Tom Mcdonald re Threshold Change              07/27/2012
             Requests

      262.   Email from Jennifer Melvin re: South CSMP Distribution   08/02/2011
             Contacts and Level 1 calls

      263.   Email sent on behalf of Don Walker re implementing an    10/24/2013
             enhanced SOM Program with attachments and webex
             invite

      264.   Letter from DOJ to McKesson Re: Possible Civil Action    08/13/2014
             Against McKesson Corporation for Violations of the
             Controlled Substances Act

      265.   Transcript of the Deposition of Donald Walker            01/10/2019

      266.   RNA- Threshold Change/Level 1 Forms for CVS              04/08/2010

      267.   Threshold Change Forms for various Accounts and          11/28/2008
             Emails from Dave Gustin to Micheal Bishop asking him
             to increase thresholds

      268.   CVS CSMP: Threshold Review                               01/09/2009

      269.   Threshold Change request for Giant Eagle approval        10/29/2010

      270.   Threshold Change Request for Giant Eagle, Threshold      02/23/2009
             was increased 30% every 2w sicne 01/14/2009

      271.   Threshold Change Form for Giant Eagle approval           12/17/2008



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      272.   Threshold Change Form Approvals for Giant Eagle           12/19/2008

      273.   Threshold Change Form Approval for Giant Eagle            11/21/2008

      274.   Threshold Change Form Approvals for Giant Eagle           07/31/2008

      275.   Threshold Change Form Approvals for Giant Eagle           10/22/2008

      276.   Threshold Change Form Approvals for Giant Eagle and       05/28/2008
             an Email form Dave Gustin noting they need to know
             why the stores are purchasing well past historic trends

      277.   Email from Gary Hilliard to Sharon Mackarness Re:         10/23/2006
             Hydrocodone Reports

      278.   Email from Timothy Foster to Joe Lumpkin, et al, Re:      11/01/2013
             CSCP Tracker

      279.   Email from David Graziano to Melenie Petropoulos and      12/23/2013
             Stephen Schmidt re: CSCP Trackers Marc’s 2WA and
             39MA

      280.   Email from Stephen Schmidt to Melenie Petropoulos and     01/27/2014
             others re: Marc’s CSCP Threshold Report

      281.   MCKMDL00478912

      282.   MCKMDL00478913

      283.   McKesson Corporation Board of Directors’ Response to
             International Brotherhood of Teamsters

      284.   Controlled Substance Monitoring Program                   06/24/2008

      285.   Email from Dan Jefferies to Nate Hartle and others RE:    01/30/2017
             Opioid Reductions

      286.   Email from Donald Walker re: List 1 Chemicals and         06/03/2010
             Clarifying the “partial” Issue in CSMP

      287.   SOMs Process Flow[ENDO-OPIOID_MDL-01334119]               04/00/2014

      288.   Abuse and Diversion Detection [PPLP004035073]             09/00/2015

      289.   ABC Diversion Control Program effective June 25, 2007     06/25/2007

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      290.   Carlos Aquino Expert Report                              06/06/2019

      291.   Transcript of the Deposition of Chris Zimmerman          08/03/2018

      292.   Chemical Handler’s Manual, A Guide to Chemical
             Control Regulations

      293.   Deposition Transcript of Eric Cherveny                   11/09/2018

      294.   Deposition Transcript of Stephen Mays (Vol. I)           10/24/2018

      295.   Deposition Transcript of Stephen Mays (Vol. II)          02/08/2019

      296.   ABC’s Diversion Control Program                          08/07/2017

      297.   Order to Show Cause and Immediate Suspension of          04/19/2007
             Registration sent to Amerisource Bergen

      298.   Settlement and Release Agreement                         06/22/2007

      299.   Reported to DEA Report for Opioid Items for all OHIO
             Summit County Customers from 2007-2013

      300.   ABDCMDL00308070

      301.   Email from Eric Cherveny to Stephen Hendrickson and      08/05/2016
             others re: CSRA 590 Validation Project

      302.   Transcript of the Deposition of David May                08/04/2018

      303.   Transcript of the Deposition of Candace Harbauer         02/19/2019

      304.   Mary Woods Deposition Transcript                         01/10/2019

      305.   Prescription Supply, Inc. Controlled Substances          01/21/2015
             Policy/Procedure

      306.   Transcript of the Deposition of James Schoen             02/27/2019

      307.   Transcript of the Deposition of Kirk Harbauer            02/27/2019

      308.   Letter to Cardinal Health from DEA to reiterate the      12/27/2007
             responsibilities of controlled substance manufacturers
             and distributors to inform DEA of suspicious orders


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      309.   State of Ohio Board of Pharmacy Written Response to         10/25/2017
             Prescription Supply, Inc

      310.   Transcript of the Deposition of Jeff Abernathy              11/15/2018

      311.   Transcript of the Deposition of Susanne Hiland              01/23/2019

      312.   SOM Reddwerks Upgrade - US Compliance

      313.   Portfolio Scoring Worksheet – Suspicious Order
             Monitoring

      314.   Plaintiffs’ Responses to the Amended and Clarified          01/25/2019
             Discovery Ruling 12 Supplemental Interrogatory Issued
             to Plaintiffs

      315.   Transcript of the 30(b)(6) Deposition of Walmart, through   01/22/2019
             the testimony of Susanne Hiland

      316.   Transcript of the Deposition of Ramona Sullins              01/04/2019

      317.   Emails re: WalMart Drug Tracking                            06/17/2015

      318.   Walmart Inc.’s Responses to Plaintiffs (First) Combined     11/30/2018
             Discovery Requests to National Retail Pharmacies
             Defendants

      319.   Emails re: DEA agents at store DC 6028                      09/15/2014

      320.   Walmart Pharmacy Manual, Evaluating Orders of               09/30/2014
             Interest and Suspicious Order Reporting

      321.   Controlled Substance Risk Assessment: Executive
             Summary

      322.   WMT_MDL_000048100 - WMT_MDL_000048101

      323.   Suspicious Order Monitoring Program Policy and
             Procedures for the Pharmaceutical Integrity Team

      324.   Settlement and Memorandum of Agreement                      06/10/2013

      325.   Transcript of the Deposition of Edward Bratton              12/16/2018

      326.   Handling Suspicious Drug Orders                             02/15/2005

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      327.   DEA Letter re: a proposed system of detecting and        12/27/1988
             reporting excessive orders

      328.   Letter from DEA re: a regulatory investigation of        05/17/2006
             Walgreens

      329.   Emails regarding Suspicious Transactions and the DEA     03/02/2006

      330.   DEA Suspicious Controlled Drug Report                    04/03/2007

      331.   Walgreens Second Supplemental Responses to Plaintiffs’   02/19/2019
             (First) Combined Discovery Requests

      332.   Transcript of the Deposition of Eric Stahmann            10/16/2018

      333.   Deposition Errata for E. Bratton                         03/05/2019

      334.   Settlement and MOA                                       06/10/2013

      335.   Walgreens Order to Show Cause and Immediate              09/13/2012
             Suspension of Registration

      336.   DOJ Subpoena                                             02/04/2013

      337.   Emails re: Weekly PMO Status – Thursday Update           02/15/2013

      338.   Perrysburg CIII-CV – meeting notes Email                 03/01/2013

      339.   Letter to DEA re Subpoena                                02/20/2013

      340.   CII orders to be shipped from Amerisource Bergen         03/2014

      341.   CII orders to be shipped from Amerisource Bergen         03/2014

      342.   Emails re Suspicious Controlled Drug Orders              08/03/2010

      343.   Shipment contents from Walgreens Perrysburg DC and       02/28/2013
             DEA Audit

      344.   Shipment contents from Walgreens Perrysburg DC and       02/28/2103
             DEA Audit

      345.   Email RE: Suspicious Orders                              06/27/2007



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      346.   Chemical Hanlder’s Manual, A Guide to Chemical            01/31/2004
             Control Regulations

      347.   Walgreens Distribution Center follow up letter to March   07/28/2006
             2006 regulatory investigation

      348.   Suspicious Order Reporting                                03/26/2008

      349.   Office of Diversion Control – Knowing your                03/28/2013
             Customer/Suspicious Orders Reporting

      350.   DEA Compliance – Perrysburg Distribution Center           12/22/2008

      351.   Withheld Due to Privilege

      352.   RX Questionable Order Qty                                 12/11/2006

      353.   Transcript of the Deposition of Douglas Peterson          12/20/2018

      354.   Transcript of the Deposition of Christopher Domzalski     01/17/2019

      355.   Authentication of Prescription Order Policy               10/07/2013

      356.   Transcript of the Deposition of Deb Bish                  02/01/2019

      357.   Transcript of the Deposition of Jennifer Diebert          01/24/2019

      358.   Update on Rx Supply Chain Contingency Plan for Jupiter    04/06/2012

      359.   DEA Suspicious Order Reporting                            06/23/2008

      360.   Emails re: CSR Version Summary                            10/08/2012

      361.   Controlled Substance Order Review

      362.   Transcript of the Deposition of Tasha Polster             01/23/2019

      363.   WAGMDL00245768

      364.   WAGMDL00325129

      365.   Email re: Suspicious Order                                02/05/2013

      366.   Email re: Transferring Controlled Substances              04/11/2013


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      367.   Email re: Oxycodone no longer being ordered via PDQ       09/28/2012

      368.   DEA Suspicious Order Item Limits – Phase II               08/26/2009

      369.   July 2011 DEA Statistics                                  07/2011

      370.   Transcript of the Deposition of Barbara Martin            01/25/2019

      371.   Walgreens’s Second Amended Objections and Responses       03/04/2019
             to Plaintiffs’ First Set of Interrogatories

      372.   Emails re: High Quantity Stores                           01/10/2011

      373.   WAGFLDEA00000846

      374.   WAGMDL00436802

      375.   Emails re: High Quantity Stores                           01/10/2011

      376.   Emails re: Proposed org chart                             12/16/2012

      377.   Transcript of the Deposition of Steven Mills              11/08/2018

      378.   Emails re: Controlled Substance Order Quantity Override   08/19/2013
             Form

      379.   Emails re: Ceiling Update                                 01/03/2103

      380.   Emails re: Shrink Set                                     04/16/2013

      381.   Email re: VAWD Question - Inventory Controls              05/11/2011
             Questionable Regular RX Orders

      382.   CVS-MDLT1-000060805

      383.   Expert Report of Craig J. McCann                          03/25/2019

      384.   CVS-MDLT1-000060798

      385.   Transcript of the Deposition of Mark Vernazza             11/20/2018

      386.   Exhibit 30 to the Deposition of Mary Woods

      387.   Transcript of the Deposition of Amy Propatier             11/29/2018


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      388.   Opti- Source Oxy Orders [Acquired_Actavis_00665233]   03/24/2011

      389.   Deposition Transcript Excerpts of Ellen Wilson        01/24/2019

      390.   Order on SOM Report [JAN-MS-03739793]                 07/21/2015

      391.   Order Management System [PPLP003430436]               03/23/2009

      392.   Transcript of the Deposition of Sherri Hinkle         01/25/2019

      393.   DEA Comments [CAH_MDL2804_02489191]                   06/04/2008

      394.   Transcript of the Deposition of Aaron Burtner         01/17/2019

      395.   Transcript of the Deposition of Terrence Dugger       01/23/2019

      396.   Draft Summary of DEA-HDMA Meeting                     04/15/2008
             [CAH_MDL2804_02489188]

      397.   Draft HDMA Best Practices for Controlled Substances   01/31/2008
             [HDA_MDL_000148607]

      398.   Chronology of HDMA DEA Involvement                    10/31/2016
             [HDA_MDL_000081364]

      399.   Chronology of HDMA DEA Involvement                    10/31/2016
             [HDA_MDL_000081363]

      400.   Transcript of the Deposition of Gary Millikan         01/11/2019

      401.   Industry Compliance Guidelines                        11/14/2008
             [HDA_MDL_000145918]

      402.   DEA Suspicious Orders [HDA_MDL_000213078]             05/07/2008

      403.   HDMA DEA Suspicious Order Best Practices              02/12/2008
             [HDA_MDL_000213058]

      404.   HDMA Report [HDA_MDL_000213229]                       01/31/2008

      405.   Transcript of the Deposition of Shauna Helfrich       01/10/2019

      406.   HDMA Report [HDA_MDL_000213212]                       01/31/2008

      407.   Emails re: SOM Presentation                           01/15/2014

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      408.   Member Questionnaire [HDA_MDL_000139414]                   01/17/2008

      409.   Customer Verification Procedure                            01/10/2008
             [HDA_MDL_000150198]

      410.   DEA Org Chart and SO Check [HDA_MDL_000151104]             01/02/2008

      411.   Business Idea Description – Control Drug IRR update

      412.   Rite Aid Distribution Center DEA Regulatory Guidelines

      413.   Controlled Drug Above Average Order Monitoring             02/28/2010
             Program

      414.   Rite Aid’s Objections and Responses to Plaintiffs’ First Set 11/30/2018
             of Combined Discovery Requests

      415.   Transcript of the Deposition of Janet Getzey Hart          01/30/2019

      416.   Transcript of the Deposition of Marian Wood                01/24/2019

      417.   Transcript of the Deposition of Christopher Belli          12/20/2018

      418.   Transcript of the Deposition of Janet Getzey Hart          01/31/2019

      419.   Emails re: Rite Aid CSMP                                   09/12/2011

      420.   Transcript of the Deposition of Debra Chase                01/04/2019

      421.   Threshold Exception List                                   04/18/2011

      422.   Above Threshold July 2012                                  08/06/2012

      423.   Project Initiation for 5046 Suspicious Order Monitoring    10/02/2013

      424.   HBC Service Company’s Amended Responses to
             Plaintiffs’ First Set of Combined Discovery Requests

      425.   Emails re: DSCSA Documents with attachments                12/04/2014

      426.   Transcript of the Deposition of Matthew Rogos              02/22/2019

      427.   HBC Service Company’s Supplemental Answers to
             Plaintiffs’ First Set of Interrogatories


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      428.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      429.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      430.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      431.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      432.   Inventory Control – Suspicious Order Policy              02/26/2016

      433.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      434.   Deposition Transcript Excerpts of Anthony Mollica        01/04/2019

      435.   Deposition Transcript Excerpts of Joseph Edward Miller   12/20/2018

      436.   Deposition Transcript Excerpts of Joseph Edward Miller   12/20/2018

      437.   Email Re: Daily HBC Suspicious Purchasing Report         01/10/2014

      438.   Email Re: Daily HBC Suspicious Purchasing Report         09/23/2015

      439.   Email re: Norco volume for store RX4031                  07/08/204

      440.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      441.   Emails re: Gian Eagle / Buzzeo PDMA: SOM Services        10/01/2015
             Proposal

      442.   Deposition Transcript Excerpts of James Tsipakis         12/13/2018

      443.   Matthew Greimel Expert Report                            05/10/2019

      444.   Deposition Transcript Excerpts of Jason Briscoe          12/06/2018

      445.   Deposition Transcript Excerpts of Jason Briscoe          12/06/2018

      446.   Deposition Transcript Excerpts of Jason Briscoe          12/06/2018

      447.   Report of Craig McCann, Appendix 9 at pp 151, 193        03/25/2019

      448.   Report of Craig McCann, Appendix 9 at 3783, 3852         03/25/2019

      449.   Deposition Transcript Excerpts of Tom Nameth             01/07/2019


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      450.   Deposition Transcript Excerpts of Tom Nameth and          01/07/2019
             Jason Briscoe

      451.   Deposition Transcript Excerpts of Jill Strang, Tom        01/03/2019
             Nameth, and Jason Briscoe

      452.   Deposition Transcript Excerpts of Jason Briscoe           12/06/2018

      453.   Deposition Transcript Excerpts of Jason Briscoe, Tom      12/06/2018
             Nameth, and Jill Strang

      454.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      455.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      456.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      457.   21 C.F.R. § 1301.74

      458.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      459.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      460.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      461.   Deposition Transcript Excerpts of Peter Ratycz, Jill      12/21/2018
             Strang, and Tom Nameth

      462.   Deposition Transcript Excerpts of Jason Briscoe           12/06/2018

      463.   Deposition Transcript Excerpts of Jill Strang and Jason   01/03/2019
             Briscoe

      464.   Deposition Transcript Excerpts of Jill Strang             01/03/2019

      465.   Shipments Greater than .99% of AVG. Movement and
             Deposition Transcript Excerpts of Tom Nameth

      466.   Deposition Transcript Excerpts of Tom Nameth              01/07/2019

      467.   Deposition Transcript Excerpts of Tom Nameth              01/07/2019

      468.   Deposition Transcript Excerpts of Tom Nameth              01/07/2019

      469.   Deposition Transcript Excerpts of Jason Briscoe           12/06/2018

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      470.   Deposition Transcript Excerpts of Tom Nameth             01/07/2019

      471.   Deposition Transcript Excerpts of Tom Nameth             01/07/2019

      472.   Deposition Transcript Excerpts of Tom Nameth             01/07/2019

      473.   Deposition Transcript Excerpts of Tom Nameth, Jill       01/07/2019
             Strang, and Jason Briscoe

      474.   Deposition Transcript Excerpts of Tom Nameth and Jason 01/07/2019
             Briscoe

      475.   Email re: Controlled Substance Monitoring                10/23/2013

      476.   Deposition Transcript Excerpts of Tom Nameth             01/07/2019

      477.   Email about article: DEA Fines Coscto $11.75M over lax   01/20/2017
             US Pharmacy Controls and what it means for DDM

      478.   Deposition Transcript Excerpts of Jill Strang and Tom    01/03/2019
             Nameth

      479.   Deposition Transcript Excerpts of Tom Nameth             01/07/2019

      480.   Press Release                                            01/24/2013

      481.   Press Release                                            06/15/2015

      482.   Press Release                                            10/01/2013

      483.   Kaufhold Deposition Exhibit 3                            10/26/2018

      484.   Woods Deposition Exhibit 12 [Allergan_MDL_ 02081243]     08/18/2009

      485.   Woods Deposition Exhibit 13; [Allergan_MDL_02128514]     01/09/2019

      486.   Woods Deposition Exhibit 12 [Allergan_MDL_ 02081243]     01/09/2019

      487.   Omnicare Finasteride [Allergan_MDL_02128035]             02/11/2009

      488.   Email re Suspicious Orders [Allergan_MDL_043233370]      08/24/2009

      489.   Baran Deposition Excerpts                                12/11/2018

      490.   Woods Depostiion Exhibit 14 [Allergan_MDL_00490306]      01/09/2019

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      491.   Email re Opt-source Oxy IR Orders                    03/24/2011
             [Allergan_MDL_00665233]

      492.   Woods Deposition Exhibit 15                          01/09/2019

      493.   Incident Report                                      10/4/2012

      494.   Woods Deposition Exhibit 16                          01/09/2019

      495.   Woods Deposition Excerpts                             07/31/2012

      496.   DEA Memo Distributor Briefing [US-DEA 00000001]      11/05/2012

      497.   Clark Deposition Excerpts                             12/07/2018

      498.   Clark Deposition Excerpts                             12/07/2018

      499.   Woods Ex. 1 [Allergan_MDL_01844864]                  01/09/2019

      500.   Woods Depo Ex, 3 [Allergan_MDL_01839001]             01/09/2019

      501.   2016 YTD Report [Allergan_MDL_02181123]              3/22/2016

      502.   Woods Exh. 33 [Allergan_MDL_02187056]                01/09/2019

      503.   Email re SOP Training [Allergan_MDL_01838989]        09/22/2004

      504.   SOM Policy [Allergan_MDL_02146521]                   07/19/2011

      505.   SOM Policy [Allergan_MDL_1839002]                    05/03/2004

      506.   Call Center Operations Master Data Proc.             05/03/2004
             [Allergan_MDL_01175574]

      507.   SOM Project Status review 11.8.2011                  11/08/2011
             [Allergan_MDL_03368470]

      508.   Woods depo excerpts                                  01/09/2019

      509.   Woods Ex. 35 [Allergan_MDL_03802654]                 01/09/2019

      510.   Woods Ex. 33 [Allergan_MDL_02187056]                 01/09/2019

      511.   Napoli Depo Ex. 1 [Allergan_MDL_0353513]             06/09/2011


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       512.    SOM Cloud Services Proposal [Allergan_MDL_02467540]     02/19/2015

       513.    4.5.12 SOMS Presentation [Allergan_MDL_02468983]        04/05/2012

       514.    Napoli Deposition Excerpts                              01/17/2019

       515.    Oxy Release Notification Alert                          03/04/2011
               [Allergan_MDL_01843335]

       516.    Buskey Expert Report                                    05/31/2019

       517.    Call re DEA Next Steps [HSI-MDL-00620224]               05/30/2007

       518.    Summary of DEA Meeting – Next Steps                     09/07/2007
               [CAH_MDL2804_02489199]

       519.    Email re CS Review Chart [HDA_MDL_000148603]            02/06/2008

       520.    HDMA Best Practices [HDA_MDL_000148607]                 01/31/2008


Dated: July 2, 2019                    Respectfully submitted,


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